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ORIGINAL

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS

 

 

SHERMAN DIVISION ER oy,
UNITED STATES OF AMERICA § ; 4
§ iy, VAMP lay.
v § NO. 4:11CRI# Pin rn
§ Judge Schell
NORMAN VARNER §

FACTUAL STATEMENT

The defendant Norman Varner (Varner) stipulates and agrees that the following
facts are true and correct:

1. From on or about April 1, 2010 until on or about June 1, 2010, in the
Eastern District of Texas, Varner knowingly attempted to receive visual depictions that
had been transported in interstate commerce by computer. The visual depictions involved
the use of minors engaged in sexually explicit conduct and Varner knew that the images
he attempted to receive involved the use of minors engaging in sexually explicit conduct.

2. Specifically, Warner, using a peer-to-peer software program and the
Internet, attempted to receive visual depictions of minors engaged in sexually explicit
conduct. Varner would use this peer-to-peer program and the Internet when he was
living in Cooper, Texas, in the Eastern District of Texas.

3. Varner possessed a visual depiction of minors engaged in sexually explicit

conduct. The visual depiction is described as:

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FILE NAME DESCRIPTION

 

Brother and Young Virgin Sisters 1st A video clip depicting sexually explicit
Penetration -See her first ever climax 1m _ | conduct involving a prepubescent female
54sec into this Amat.mpg and a nude minor male, including vaginal
penetration and the lewd and lascivious
exhibition of the genitals of the
prepubescent female.

 

 

 

 

4, Varner used the following computer equipment to attempt to receive and
possess the visual depictions:
a. Compaq Presario computer (Serial #2CE8465GXH);
b. Western Digital External hard drive (Serial #WMAM9DH84857);
and
c. HP Mini If computer (Serial #CNU94196WS).

SIGNATURE AND ACKNOWLEDGMENT BY
THE DEFENDANT NORMAN VARNER

I have read this Factual Statement and have discussed it with my attorney. I fully
understand the contents of this Factual Statement and agree without reservation that it
accurately describes my acts.

Dated: 1, ( f LI fL& i 4 -
NORMAN VARNER

Defendant

 

 

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SIGNATURE AND ACKNOWLEDGMENT BY ATTORNEY
FOR THE DEFENDANT

 

T have read this Factual Statement and the Information and have reviewed them with
my client. Based upon my discussions with my client, I am satisfied that my client fully
understands the Factual Statement.

vaca: & Ok L\ IN >

ROBERT ARRAMBIDE
Attorney for Defendant

 

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